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EXHIBIT 13
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IN THE UNITED STATES DISTRICT COURT.
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AMERICAN CIVIL LIBERTIES UNION,
et al.,

Plaintiffs,

Civil Action No.
98-CV-5591

V.

ALBERTO R. GONZALES, in his official
capacity as Attomey General of the United
States,

Defendant.

FREE SPEECH MEDIA, LLC/PUBLIC COMMUNICATORS, INC.’S RESPONSES AND
OBJECTIONS TO DEFENDANT’S FIRST SET OF INTERROGATORIES

Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Free
Speech Media, LLC/Public Communicators, Inc. (“Plaintiff”) responds and objects to Defendant

Alberto R. Gonzales’s First Set of Interrogatories (“Interrogatories”) as follows:

GENERAL OBJECTIONS

1. Plaintiff objects to the Interrogatories to the extent the instructions and demands therein
purport to impose obligations in addition to, beyond, or different from those set forth in
the Federal Rules of Civil Procedure and the Rules of Civil Procedure of the United
States District Court for the Eastern District of Pennsylvania.

2. Plaintiff objects to the Interrogatories to the extent they call for the identification or .
disclosure of information that is neither relevant to the claims and defenses of any party
in this action nor reasonably calculated to lead to the discovery of admissible evidence.
Plaintiff submits these responses and objections without conceding the relevance or

materiality of the subject matter of any interrogatory.
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RESPONSE TO INTERROGATORY NO. 11

Plaintiff objects to this Interrogatory because it calls for identification of information
not within the possession, custody or control of the Plaintiff. Subject to the foregoing and to the

General Objections, Plaintiff states that it has no information responsive to this request.

INTERROGATORY NO, 12

Identify the number or proportion of ACLU members who have provided a credit
card number to a website in order to purchase membership, online content, and/or other items for
sale, to make a donation, or to make a reservation (such as a rental car or hotel reservation).

RESPONSE TO INTERROGATORY NO. 12

Plaintiff objects to this Interrogatory because it calls for identification of information
not within the possession, custody or control of the Plaintiff. Subject to the foregoing and to the

General Objections, Plaintiff states that it has no information responsive to this request.

INTERROGATORY NO. 13

For each website plaintiff, identify a representative sample of webpages on your
website which contains material about which you fear prosecution under COPA, as referenced in
Paragraph 2 in the section titled “The Impact of COPA on Plaintiffs” on page 24 of the Amended
Complaint that “[P]laintiffs fear prosecution under COPA for communicating, sending,
displaying, or distributing material that might be deemed ‘harmful to minors’ by some
community in the United States.”

RESPONSE TO INTERROGATORY NO. 13

Plaintiff objects that this Interrogatory is premature, unreasonably cumulative and
duplicative of Document Request No. 1, and calls for identification of information that is in the

public domain. Plaintiff also objects that the phrases used to define “representative sample,”
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including “distribution of characteristics,” “degree of explicitness of sexual content,” and
“population or universe” are vague and ambiguous. Subject to the foregoing and to the General
Objections, Plaintiff refers to the Web content identified in the Amended Complaint and.
responds as follows:

1) Plaintiff's website contains a video about Radical Sex Workshops, which
contains candid and explicit discussions and depictions of various sexual acts:
http://www.freespeech.org/videodb/index.php?action=view&video_id=9571&media_id=5324&b
rowse=0 (last viewed October 24,2005);

2) Video “Women of Vision” parts 2 and 3 contains candid and explicit depictions of
sexual acts and nude images of women
http://www.freespeech.org/videodb/index.php?action=detail&video_id=9833 &browse=0 (last
viewed October 24, 2005),
http://www. freespeech.org/videodb/index.php?action=detail&video_id=983 5&browse=0 (last
viewed October 24, 2005);

3) Plaintiffs website contains the video “TLC2” about the Tarheel Leather Club in
North Carolina
http://www.freespeech. org/videodb/index.php?action=detail&video_id=9554&browse=0 (last
viewed October 24, 2005), which contains candid and explicit discussions of, among other
things, dominant and submissive sexual fetishes; .

4) Plaintiffs website contains the video “Super Natural Premiere” describing in candid
and explicit detail the author’s sexual encounter with his brother as a young child
http://www.freespeech.org/videodb/index.php?action=detail &video_id=9502&browse=0 (last

viewed October 24, 2005);
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5) http://community.freespeech.org/ (last viewed October 27, 2005) and the links
accessible therein contain or may contain in the future, among other things, candid and explicit

comments or questions on a diverse category of topics posted directly by internet web users.

INTERROGATORY NO. 14

For each website plaintiff, identify a representative sample of webpages on your
website which you believe contains material that has serious literary, aatistic, political, scientific
and/or social value for adults.
RESPONSE TO INTERROGATORY NO. 14

Plaintiff objects to the extent this Interrogatory calls for the identification of
information that is neither relevant to the claims and defenses of any party in this action nor
reasonably calculated to lead to the discovery of admissible evidence. COPA does not take into

_account the subjective beliefs of speakers with regard to the content they provide on the Internet. .
Additionally, under COPA, it is irrelevant whether material has “social value for adults.”
Plaintiff further objects that the phrases used to define “representative sample,” including
“distribution of characteristics,” “degree of explicitness of sexual content,” and “population or
universe” are vague and ambiguous. Plaintiff also objects that this Interrogatory is premature
and calls for identification of information that is in the public domain. To the extent this
Interrogatory purports to inquire whether Plaintiff believes that any of the webpages on its
website are obscene, Plaintiff hereby responds that it does not believe any of its webpages are.

obscene.
Freespeech: Video Libyatyse 2:98-cv-05591-LR Document 29844 Ri Bep were 7eE6 Engh ane opi action detail&video...

1 of 1

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NETWO!

Map :

What Democracy Lawks.

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Special Reports | Featured Videos | Search Videos | Store | Online Community

TLC 8: Radical Sex Workshops
"The last thing your bottom wants to hear is ouch..."

Series: TLC: Year With a Leather Club
Episode: TLC 8: Radical Sex Workshops
Produced: November 29, 1999 at 22:00:00

Viewing options
Play RealMedia format (8m 25s; for dial-up users)

Producer: Cool Cat Daddy (hitp:/Avww.nr.infi.net/~rriddle)

Helo Free Speech TV grow by sharing this post with:

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Freespeech: Video LIKBGe 2:98-cv-05591-LR Document 29B42:f "PEGS POF Pe aor oper’ action=detail &video...

Free Speech
NETWORK

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TLE 2
An 8-part series about the Tarheel Leather Club in North Carolina, investigating
their social, political, and (yes) sexual exploits.

Series: TLC
Episode: TLC 2
Produced: November 29, 1999 at 22:00:00

Viewing options
Play RealMedia format (13m 6s; for broadband users)

Producer: Cool Cat Daddy Productions
(htip:/Avww.nr. infi.net/~rriddle)

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Free Speech

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OMSINE COMMUNITY

Special Reports | Featured Videos | Search Videos | Online Community | Site Map

OC Home | Community | Social Forums | Weblogs | Calendar | User Policy [| Advanced Search | Comments/Questions | FAQ

{3 User Functions
Username:

al OO
Don't have an account

yet? Sign up as a New
User

{2 Recent Forum Posts

Order By:New Views Posts
Latest 5 Forum Posts

*» Peace Processes
By: 13th~

On: 08/24/06 00:21 AM
Views 561 Replies 9

» For whom they. work..
By: kathaksung

On: 08/22/06 21:22 PM
Views 633 Replies 22

> The real story beh..
By: kathaksung

On: 08/22/06 21:13 PM
- Views 1873 Replies 45
> support the WM3
By: cmlayton -

On: 08/22/06 15:24 PM
Views 23 Replies 1

> support the WM3
By: cmlayton

On: 08/22/06 15:07 PM
Views 17 Replies 0

ES Who's Online
Guest Users: 6

=. Members
Member List

Eo Events
Site Events

Monday 11-Sep

® Robert Bly and Martin
Prechtel Evening Sept 11
at Hamline University

—3 Links

Stuff We Like

Moveon.org

International ANSWER
Common Dreams

FAIR

Occupation Watch
Alternet

COA-Indepent News Portal
Independent Media
Marketplace

1 of 2.

E. Free Speech TV Rapid Response Program
Thursday, August 10 2006 @ 01:48 PM MDT

Islam and
Democracy: Islam and
Democracy explores
how members of the
Arab world view current
U.S. foreign policy,
including U.S. support
for Israeli aggression.
Includes interviews
with Hamas, and
Hezbollah. Click here to

CPC: Should the U.S. Go To War With Iran?: Congressional
Progressive Caucus hearings on the potential outcomes of a
preemptive war against Iran. Click here to watch the streaming
video. . .

{3} SourceCode Season 3
Saturday, May 20 2006 @ 05:26 PM MDT

SourceCode Season 3

The border dispute is about more than fences and
radar.it's about what it means to provide
humanitarian aid. We'll have an update on the NO
MORE DEATH's case where two humanitarian
activists are about to be tried for treason. Then, a
whistleblower inside the government shares

rr information on no-bid contracts for detention
camps -- Kellogg, Brown and Root is readying 20,000 beds for "an
immigration emergency." And meet a group of students in LA who
are organizing some of the largest street rallies in U.S. history.
View SourceCode TV Schedule. :

' {i Free Speech TV Online Community

Tuesday, April 12 2005 @ 01:14 PM MDT

Welcome to the Free Speech Network Online Community.

The FSN Online Community is a gathering place for sharing
information, organizing activities, and collaborating on projects.
Using tools such as weblogs, calendars, forums, meetup, and
mailing lists, we hope to provide a comprehensive and dynamic
space in which to engage social activists, artists, teachers, and
various community organizers.

Sign up today and start exploring FSN Online Community’s various
features, such as event calendars, journals, forums, blogs and your

‘own community. :

How to apply for your Community and Blog:

In order to start your community or blog, you should be a member
of free speech online community first. Sign up today and be a
member.of Online Community.

Community:
The Free Speech Network is happy to install and host.a community
for your group or organization. Apply for your community here!

Blog:

The Free Speech Network Blogs are open for individuals who want
to share their opinions on certain topics, activities, and lives with
our public audience. Apply for your blog today!

{2 Recent Blog Posts

Why Do You Need a 9-11
Conspiracy?

Two New Books

Salvation Army: takes Tax Dollars,
Purges Gays and Lesbians

Short VIDEO: Longest-Running Fraud
in History

NFC CARE: TMAP, TEENSCREEN,
SOS, MOTHERs ACT, ELDER CARE,
EVERYBODY ELSE and PhRMA
FACTORY

Independence Day!

CHEN DE PING will have her surgery
on Thursday!

An animated gif for FSTV
ACTION ALERT!

What I know for sure.

Tree Hugger TV
NetSquared.org Conference
Vlogging and: Interactivity

Serena Doesn\'t Live Here
Anymore...

And so it goes..

{3 Forums
Free Speech Community Forums

E3 Vote

What is your favorite feature on
Free Speech Network Site?

€ Featured Videos
Special Reports
Discussion Forums
Program Highlights

527 votes | 16 comments

£2 Recent Journal Posts

WITH THE SPREAD OF
UNEQUALITY,WIDE GAP BETWEEN
THE EAST AND

_ WEST,PREJUDICE, THEREFORE, THERE

HAD TO BE A LOT OF PROBLEMS.
pirate school is coming to Denver
Confusion

hazzy daze

T will not go quietly.

hmmm...

The Cancerous Religion.

Great VIDEO.Link!:

questions

It is the theorem that defines what
we can observe. (Einstein)

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OC Home | Community | Social Forums | FS Weblogs | Calendar | User Policy | Advanced Search | Comments/Questions

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